                       Exhibit 3




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        D              F                 H            I       J        K           L             M               P
                                                                      Survey                Cash
                                                                    Instance                Discount      First Revenue
 1     Machine Location Name       City          State     Zip Code       Id    Survey Date Sticker Y/N   Date
2099     21177 KK 1 FRONT OFFICE   EAST PEORIA   IL           61611 3758585       9/12/2019 Y             November 2017
2144     61000 KK 22A              EAST PEORIA   IL           61611 4734790       11/4/2020 Y             September 2019
2200     61087 KK 20J              EAST PEORIA   IL           61611 3758516       9/12/2019 Y             August 2017
2371     61325 KK 1 FRONT OFFICE   EAST PEORIA   IL           61611 3758583       9/12/2019 Y             March 2019
2479     61463 KK 22A              EAST PEORIA   IL           61611 4734814       11/4/2020 Y             September 2019
2497     61508 KK 12B              EAST PEORIA   IL           61611 3758406       9/12/2019 Y             September 2019
2498     61509 KK 1 FRONT OFFICE   EAST PEORIA   IL           61611 3291063       4/12/2019 N             August 2017
2585     66550 KK 22A              EAST PEORIA   IL           61611                                       August 2017
2592     66574 KK 46J              EAST PEORIA   IL           61611 3758563       9/12/2019 Y             September 2017
2644     67000 KK 5P               EAST PEORIA   IL           61611 4648507      10/14/2020 Y             September 2019
2683     71037 KK 5P               EAST PEORIA   IL           61611 4648510      10/14/2020 Y             September 2019
2718     71321 KK 12B              EAST PEORIA   IL           61611 4648469      10/14/2020 Y             September 2019
2724     71389 KK 22A              EAST PEORIA   IL           61611 3758367       9/12/2019 Y             August 2017
2729     72006 KK 22A              EAST PEORIA   IL           61611 4648477      10/14/2020 Y             September 2019
2733     72012 KK 5P               EAST PEORIA   IL           61611 3618632       7/10/2019 N             March 2018
2785     92039 KK 22A              EAST PEORIA   IL           61611 4792235      11/20/2020 Y             September 2019
2818     92172 KK 12B              EAST PEORIA   IL           61611                                       September 2019
2825     92208 KK 22A              EAST PEORIA   IL           61611 4648491      10/14/2020 Y             September 2019
2846     92534 KK 20J              EAST PEORIA   IL           61611                                       February 2019
2856     92668 KK 46J              EAST PEORIA   IL           61611 3758556       9/12/2019 Y             September 2019
2858     92691 KK 5P               EAST PEORIA   IL           61611                                       July 2017
3068     93327 KK 22A              EAST PEORIA   IL           61611 3758373       9/12/2019 Y             March 2019
3126     93417 KK 5P               EAST PEORIA   IL           61611                                       September 2019
3270     93582 KK 1 FRONT OFFICE   EAST PEORIA   IL           61611 4517952       7/27/2020 Y             September 2019
3271     93582 KK 5P               EAST PEORIA   IL           61611 4517952       7/27/2020 Y             July 2020
3328     93648 KK 46J              EAST PEORIA   IL           61611 3758558       9/12/2019 Y             September 2019
3336     93658 KK 12B              EAST PEORIA   IL           61611 3976282      10/29/2019 Y             October 2019
3346     93668 KK 20J              EAST PEORIA   IL           61611 4517951       7/27/2020 Y             July 2020
3364     93692 KK 1 FRONT OFFICE   EAST PEORIA   IL           61611 4442204       5/29/2020 Y             March 2020
3419     94013 KK 20J              EAST PEORIA   IL           61611                                       September 2019
3421     94018 KK 20J              EAST PEORIA   IL           61611 3758508       9/12/2019 Y             September 2019
3459     94165 KK 22A              EAST PEORIA   IL           61611 5514431       9/17/2021 Y             September 2019



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